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       consultants re: assessment and/or remediation of suspected fungal growth (SFG),
       prepared in anticipation of litigation.”

Corvias bears the burden of sustaining its privilege or work product claims. See In re Grand Jury
Subpoena: Under Seal, 415 F.3d 333, 338–39 (4th Cir. 2005) (attorney-client privilege); Solis v.
Food Emp’rs Labor Relations Ass’n, 644 F.3d 221, 231–32 (4th Cir. 2011) (work product).

To justify a claim of attorney-client privilege, Corvias must show that the withheld document is a
confidential communication between counsel and client “made primarily for the purpose of
obtaining legal advice or services from the attorney.” Agropex Int’l, Inc. v. Access World (USA)
LLC, 2021 WL 3090901, at *1 (D. Md. May 20, 2021). Claims of privilege are construed narrowly.
In re Grand Jury, 415 F.3d at 339. “Communications are not privileged merely because one of the
parties is an attorney or because an attorney was present when the communications were made.”
United States v. Cohn, 303 F. Supp. 2d 672, 683–84 (D. Md. 2003).

To justify a claim of work product protection, Corvias must prove that the documents or
communications at issue were created “in anticipation of litigation,” and that they were prepared
“by or for” Corvias “or its representative.” Fed. R. Civ. P. 26(b)(3). There are two types of work
product: (i) opinion work product, “the actual thoughts and impressions of the attorney,” and
(ii) fact work product, “a transaction of the factual events involved.” In re Grand Jury Subpoena,
870 F.3d 312, 316 (4th Cir. 2017). The latter may be obtained “upon a mere showing of substantial
need and an inability to secure the substantial equivalent of the materials by alternate means
without undue hardship.” Id. Corvias must prove by detailed evidence that a real and imminent
prospect of litigation was the “driving force” behind the preparation of each document. Nat'l
Union Fire Ins. Co. of Pittsburgh, Pa. v. Murray Sheet Metal Co., 967 F.2d 980, 984 (4th Cir.
1992). This means “materials prepared in the ordinary course of business or pursuant to
regulatory requirements or for other non-litigation purposes are not documents prepared in
anticipation of litigation.” Id.

We list on Appendix A the 20 documents that the Court should review in camera, five of which
come from Corvias’s “clawback” log and the other 15 of which come from the logs that Corvias
provided for the contractors.

       A.      Exemplary “Clawback” Documents †

It is clear that Corvias cannot meet this burden with respect to the documents that it seeks to claw
back. ‡


† Documents 1–5, will be provided, but not filed by Plaintiffs to chambers concurrent with the
filing of this letter.
‡The Protective Order (ECF No. 66) provides that if a party receiving a clawback request contests
the assertions of privilege, it shall comply with and may promptly seek a judicial determination of
the matter pursuant to Fed. R. Civ. P. 26(b)(5)(B). We have complied with that obligation by
sequestering the materials pending Your Honor’s review and herein “present[ing] the information
to the court under seal for a determination of the claim” including by submitting copies of the
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In short, it is clear that Corvias is asserting privilege and work product claims over documents
that are not attorney-client privileged or work product.

       B.      Exemplary Documents from Contractor Privilege Logs **

For the same reasons as above, Corvias cannot meet its burden with respect to the hundreds of
documents withheld by ServPro, B&V, TRC, and East Coast Mold that do not involve any
attorneys, to include the person from “Aegis.” (We assume that the reference in the privilege log
entries to “Holland & Knight-engaged consultant” is intended to refer to Aegis, although Corvias
has also referred to ServPro, B&V, and TRC as “Holland & Knight-engaged consultants.”) Thus,
we respectfully request that the Court examine Documents 6–20 in camera.

Documents 6–13 are communications and attachments withheld by Black & Veatch or ServPro as
“Work Product” and/or “Attorney-Client.” None of these communications include an attorney;
rather, Corvias describes them as communications regarding “assessment and/or remediation of
suspected fungal growth (SFG)” between Corvias and Black &Veatch and/or ServPro discussing
(1) work performed “at the direction of counsel” by consultants or (2) spreadsheets “created by
Holland & Knight” and populated by consultants. However, whether or not counsel directed the
work, whether or not counsel created a spreadsheet or other document, and whether or not these
communications reference that spreadsheet, if the communications or documents contain the
results of the inspections and remediations, they are not privileged and should be produced,
particularly as the spreadsheet was populated not by attorneys or the Aegis consultant, but rather
by the “independent” third-party vendors doing the inspections and performing the remediations.
Cf. Agropex, 2021 WL 3090901, at *1 (to justify a claim of attorney-client privilege, the
communication must be “made primarily for the purpose of obtaining legal advice or services
from the attorney”); Union Fire, 967 F.2d at 984 (to justify work product protection, a real and
imminent prospect of litigation must be the “driving force” behind the preparation of each
document).

Documents 14–20 are communications, attachments, and documents withheld by Black &
Veatch, ServPro, or TRC as “Work Product.” Each of these communications or documents include
“Naoufal Bouamar, Esq.” from “Aegis Consulting.”. Corvias describes these as communications or
documents regarding “assessment and/or remediation of suspected fungal growth (SFG)”
between Corvias and Black & Veatch and/or ServPro discussing (1) work performed “at the
direction of counsel” by consultants,(2) “work product created by Holland & Knight” and
populated by consultants, or (3) spreadsheets “created by Holland & Knight” and populated by
consultants. As an initial matter, as above, whether or not counsel directed the work, whether or
not counsel created a spreadsheet or other work product, and whether or not these


 Because Plaintiffs do not have copies of Documents 6–20, Corvias must promptly provide
**

Documents 6–20 to chambers.
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communications reference that spreadsheet or other work product, if the communications and
documents contain the results of the inspections and remediations, they are not privileged and
should be produced, particularly as the spreadsheet was populated not by attorneys or the Aegis
consultant, but rather by the “independent” third-party vendors doing the inspections and
performing the remediations. Cf. Agropex, 2021 WL 3090901, at *1; Union Fire, 967 F.2d at 984.

Regarding the inclusion of the Aegis consultant, Mr. Bouamar, on communications or as a
document author, while Mr. Bouamar does appear to have a law degree, he does not appear to
have acted as counsel for Corvias. Indeed, Mr. Bouamar was apparently a “Project Controls
Engineer II” during his time at Aegis Project Controls whose role was to “build[] complex
schedules tailored to each client’s needs, and manage[] it throughout the life of the project, ”
“pinpoint spending and billing,” and “identify and monitor risks to keep the schedule on track or
determine the likelihood of an impact.” †† Likewise, Aegis Project Controls describes its mission as
“keeping complex projects on time and on budget through project controls.” ‡‡ Thus, regardless of
whether Aegis was a consultant retained by Holland & Knight for Corvias, Mr. Bouamar
apparently did not act in an attorney role as to Corvias and his inclusion on communications or
work on documents does not act to shield production thereof. Moreover, even if Mr. Bouamar was
acting as counsel to Corvias (he was not), Mr. Bouamar’s inclusion on communications or work
on documents does not cloak all communications as protected by work product or attorney-client
privilege, particularly were, as here, Corvias’s inspection and remediation efforts were performed
at the request of the Army and because Corvias had an obligation to provide safe houses to
residents—not because Corvias anticipated litigation. E.g., Cohn, 303 F. Supp. 2d at 683–84
(“Communications are not privileged merely because one of the parties is an attorney or because
an attorney was present when the communications were made.”); Egiazaryan v. Zalmayev, 290
F.R.D. 421, 435 (S.D.N.Y. 2013) (“Because the [work product] protection arises only for materials
prepared in anticipation of litigation, it is not enough to show merely that the material was
prepared at the behest of a lawyer or was provided to a lawyer. Rather, the materials must result
from the conduct of investigative or analytical tasks to aid counsel in preparing for litigation.
(internal quotations and citations omitted)).

Finally, even if Corvias were somehow correct that these documents and communications could
qualify as attorney work-product, Plaintiffs’ substantial need for the materials to prepare their
case and inability to obtain their substantial equivalent by other means warrants their production.
Neither Black & Veatch or ServPro have produced anything comprehensive related to the actual
work as “independent” third-party vendors hired to perform mold inspections and remediations
on Fort Meade. Indeed, the facts regarding what the contractors found and did in the homes
should not be insulated from discovery because they were fed into spreadsheets or other
documents that a lawyer may have had a hand in creating, particularly when there is no assurance
that we have otherwise received in discovery all of the findings and documentation regarding all
of the remediation work performed (or not performed).




††   https://www.linkedin.com/in/naoufal-william-bouamar-esq-cst-8827971b9
‡‡   https://www.linkedin.com/company/consultaegis
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II.      The Parties’ ESI Agreement Does Not Exempt Corvias From Having to
         Provide a Privilege Log

Corvias (including both Corvias Management LLC and Meade Properties) has not logged a single
privileged document in connection with its document production, which ostensibly encompasses
multiple custodians and goes back to 2016. This is not because no such documents exist—rather,
it is because Corvias has misread the ESI Protocol to excuse itself from having to identify any
documents withheld on grounds of privilege.

As relevant to the dispute here, Sections V.A–B of that ESI Protocol provides (emphases added):

      A. Production of Privilege Logs: Except as provided otherwise below, for any
         document withheld in its entirety or produced but redacted, the Producing Party
         will produce privilege/redaction logs in MS Excel format or any other format that
         permits electronic sorting and searching.

      B. Exclusions from Logging Potentially Privileged Documents: The following
         categories of documents do not need to be contained on a Producing Party’s initial
         privilege log, unless good cause exists to require that a Party do so.

         1. Information generated after the date the initial complaint was filed in the above-
            captioned matter.

         2. Any communications exclusively between a Producing Party and its inside counsel,
            outside counsel, an agent of outside counsel other than the Party, any non-testifying
            experts in connection with the Litigation, or with respect to information protected by
            Fed. R. Civ. P. 26(b)(4), testifying experts in connection with the Litigation.

         3. Any privileged materials or work product created by or specifically at the direction of
            a Party’s outside counsel, an agent of outside counsel other than the Party, any non-
            testifying experts in connection with the Litigation, or with respect to information
            protected by Fed. R. Civ. P. 26(b)(4), testifying experts in connection with the
            Litigation.

Ignoring the modifier “in connection with the Litigation,” Corvias reads the exception in V.B to
render the parties mutual obligation to provide privilege logs in V.A a nullity. That is not a
reasonable interpretation, nor is it what the parties provided nor intended. Discovery here
predates this litigation by several years. If Corvias has responsive documents from before the filing
of the complaint in this litigation that it is withholding on the basis of privilege or work product
protection, Corvias needs to log them.

At the August 31 hearing, Corvias took the position that documents predating this litigation could
be excused from the privilege log requirement because Corvias was anticipating that someone was
going to sue it for the widespread mold issues on Fort Meade, and so therefore documents from
before this litigation could be documents “in connection with this Litigation.” That position is
difficult to square with the fact that Corvias has not preserved documents from employees, such
as Terry Callahan, who departed the company in 2019, but before this lawsuit was filed. But even
under Corvias’s incorrect reading of the ESI Protocol, there is “good cause” to require Corvias to
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log any withheld documents that predate the initiation of this litigation. Among other things,
Corvias has already asserted claims of work product protection regarding its contract with TRC
that were not well-taken, has redacted entries from its budgets as Attorney-Client privileged even
though a budget is obviously not a communication between a lawyer and a client for the principal
purpose of seeking or receiving legal advice, and it is seeking to clawback nearly 35 documents
that are not privileged.

Notably, Corvias has never provided any estimate of the number of withheld documents.
Plaintiffs’ goal is not to create “make work” for Corvias, but rather to know whether and to what
extent documents responsive to their requests are being withheld. Given that Corvias did not even
begin retaining its “consultants” (which were really contractors) until March 2019, at a minimum
Corvias should be required to provide a privilege log identifying any documents from prior to then
that it is withholding on privilege grounds.


Respectfully submitted,

/s/Kevin B. Collins
Kevin B. Collins (D. Md. No. 13131)
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(202) 662-6291 (fax)

Counsel for Plaintiffs
                                                                                     Case 1:19-cv-03253-ELH Document 129 Filed 09/10/21 Page 8 of 37
                                                                                                                                                                          Appendix A


    Doc #    Bates Identifier         Custodian                      Author/Sender                         Recipients                                           CC                            BCC   Date Created   Date Sent    Date Received              Privilege Asserted                  Basis for Privilege                        Attachments

1           DEF_00060193–       Corvias General    Heath Howard                         Holly Costello; Leonard Fritz; Andrew Emerson,   Tim Toohey; Bill Culton, Esq.; JC Calder; Paul              11/24/2019      4/6/2019        4/6/2019 Attorney-Client; Work Product     Confidential email correspondence with counsel No
            DEF_00060194                                                                Esq.                                             Manna                                                                                                                                  and retained consultant re: consultant work
                                                                                                                                                                                                                                                                                performed at the direction of counsel for
                                                                                                                                                                                                                                                                                assessment and/or remediation of suspected
                                                                                                                                                                                                                                                                                fungal growth (SFG), prepared in anticipation of
                                                                                                                                                                                                                                                                                litigation.


2           SP_00007841–        Servpro            Donte Smith                          Cathy Russell; Michelle Griffith; George         Darla Humbles                                                2/11/2021      1/7/2021        1/7/2021 Work Product                      Confidential email correspondence discussing   No
            SP_00007843                                                                 Readinger                                                                                                                                                                               attorney work product performed at the
                                                                                                                                                                                                                                                                                direction of Holland & Knight re: assessment
                                                                                                                                                                                                                                                                                and/or remediation of suspected fungal growth
                                                                                                                                                                                                                                                                                (SFG), prepared in anticipation of litigation.




3           SP_00008149–        Servpro            John Shafer                          George Readinger                                                                                              2/11/2021    11/5/2019        11/5/2019 Work Product                      Confidential email correspondence with              Yes
            SP_00008310                                                                                                                                                                                                                                                         attachment discussing attorney work product
                                                                                                                                                                                                                                                                                performed at the direction of Holland & Knight
                                                                                                                                                                                                                                                                                re: assessment and/or remediation of
                                                                                                                                                                                                                                                                                suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                                                                                anticipation of litigation.




4           TRC_00005104–       TRC                N/A                                                                                                                                                3/10/2019                                 Work Product                    Confidential draft report reflecting legal advice   No
            TRC_00005104                                                                                                                                                                                                                                                        and containing thoughts and impressions of
                                                                                                                                                                                                                                                                                counsel prepared at direction of counsel by
                                                                                                                                                                                                                                                                                Holland & Knight retained consultant re: SFG
                                                                                                                                                                                                                                                                                inspection(s) in anticipation of litigation.



5           BV_00041455–        Black and Veatch   Shafer, John                         Heath Howard                                     Vance Miller                                                 8/22/2019    8/22/2019        8/22/2019 Work Product                      Confidential email correspondence discussing No
            BV_00041456                                                                                                                                                                                                                                                         attorney work product performed at the
                                                                                                                                                                                                                                                                                direction of Holland & Knight re: assessment
                                                                                                                                                                                                                                                                                and/or remediation of suspected fungal growth
                                                                                                                                                                                                                                                                                (SFG), prepared in anticipation of litigation.




6           BVP-00004           Black and Veatch   Holly Costello                       John Shafer; Vance E. Miller                                                                                  8/16/2019    8/16/2019        8/16/2019 Attorney-Client; Work Product     Confidential chain email correspondence             No
                                                                                                                                                                                                                                                                                reflecting discussions with Holland & Knight
                                                                                                                                                                                                                                                                                regarding work performed by consultant at the
                                                                                                                                                                                                                                                                                direction of counsel re: assessment and/or
                                                                                                                                                                                                                                                                                remediation of suspected fungal growth (SFG),
                                                                                                                                                                                                                                                                                prepared in anticipation of litigation.




7           BVP-00007           Black and Veatch   Camille Torres                       Holly Costello; Donte Smith                      Greta Bibbs; Vance E. Miller                                 8/22/2019    8/22/2019        8/22/2019 Work Product                      Confidential email correspondence discussing        No
                                                                                                                                                                                                                                                                                work performed by consultant at the direction
                                                                                                                                                                                                                                                                                of counsel re: assessment and/or remediation
                                                                                                                                                                                                                                                                                of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                                                                                anticipation of litigation.




8           BVP-00012           Black and Veatch   Vance E. Miller                      Holly Costello                                                                                                  6/3/2019     6/3/2019        6/3/2019 Attorney-Client; Work Product     Confidential draft chain email reflecting         Yes
                                                                                                                                                                                                                                                                                discussions with Holland & Knight regarding
                                                                                                                                                                                                                                                                                work performed by consultant at the direction
                                                                                                                                                                                                                                                                                of counsel and discussing spreadsheet created
                                                                                                                                                                                                                                                                                by Holland & Knight and, at direction of counsel,
                                                                                                                                                                                                                                                                                populated by Holland & Knight-retained
                                                                                                                                                                                                                                                                                consultants re: assessment and/or remediation
                                                                                                                                                                                                                                                                                of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                                                                                anticipation of litigation.
9           BVP-00056           Black and Veatch   John Shafer                          Greta Bibbs; Vance E. Miller; Cindi Kirkland                                                                  6/24/2019    6/24/2019        6/24/2019 Work Product                      Confidential email correspondence discussing        Yes
                                                                                                                                                                                                                                                                                work performed by consultant at the direction
                                                                                                                                                                                                                                                                                of counsel re: assessment and/or remediation
                                                                                                                                                                                                                                                                                of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                                                                                anticipation of litigation.




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10   BVP-00106   Black and Veatch   Joel Windsor               Cecille Tynes                                      Vance E. Miller; Holly Costello; Darla Humbles     5/16/2019   5/16/2019   5/16/2019 Work Product   Confidential email correspondence discussing     Yes
                                                                                                                                                                                                                      work performed by consultant at the direction
                                                                                                                                                                                                                      of counsel re: assessment and/or remediation
                                                                                                                                                                                                                      of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                      anticipation of litigation.




11   SPP-00031   Servpro            Vance E. Miller            Michelle Griffith; Joel Windsor; Billie Dempsey;                                                       5/2/2019    5/2/2019    5/2/2019 Work Product   Confidential email correspondence discussing     No
                                                               James Wall; Stephanie D. Hill; Glen Messersmith                                                                                                        work to be performed by Holland & Knight-
                                                                                                                                                                                                                      engaged consultant and at the direction of
                                                                                                                                                                                                                      counsel re: assessment and/or remediation of
                                                                                                                                                                                                                      suspected fungal growth (SFG).




12   SPP-00035   Servpro            Vance E. Miller            James Wall                                         Holly Costello                                      5/1/2019    5/1/2019    5/1/2019 Work Product   Confidential chain email correspondence with   No
                                                                                                                                                                                                                      counsel discussing work to be performed by
                                                                                                                                                                                                                      Holland & Knight-engaged consultant and at the
                                                                                                                                                                                                                      direction of counsel re: assessment and/or
                                                                                                                                                                                                                      remediation of suspected fungal growth (SFG).




13   BVP-00080   Black and Veatch   Holly Costello             Vance E. Miller                                                                                       6/20/2019   6/20/2019   6/20/2019 Work Product   Confidential email correspondence discussing      Yes
                                                                                                                                                                                                                      work performed by consultant at the direction
                                                                                                                                                                                                                      of counsel and discussing spreadsheet created
                                                                                                                                                                                                                      by Holland & Knight and, at direction of counsel,
                                                                                                                                                                                                                      populated by Holland & Knight-retained
                                                                                                                                                                                                                      consultants re: assessment and/or remediation
                                                                                                                                                                                                                      of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                      anticipation of litigation.
14   SPP-00004   Servpro            Naoufal Bouamar, Esq.                                                                                                            3/29/2019                         Work Product   Confidential spreadsheet created by Holland & No
                                                                                                                                                                                                                      Knight and, at direction of counsel, populated
                                                                                                                                                                                                                      by Holland & Knight-retained consultants re:
                                                                                                                                                                                                                      assessment and/or remediation of suspected
                                                                                                                                                                                                                      fungal growth (SFG), prepared in anticipation of
                                                                                                                                                                                                                      litigation.



15   SPP-00026   Servpro            Naoufal Bouamar, Esq.      James Wall; SPFM; George Readinger                 Billie Dempsey; Vance E. Miller; Shizar Horace;    5/16/2019   5/16/2019   5/16/2019 Work Product   Confidential email correspondence discussing    Yes
                                                                                                                  Nick Giambra; Clairrese Ward                                                                        work product created by Holland & Knight and,
                                                                                                                                                                                                                      at direction of counsel, populated by Holland &
                                                                                                                                                                                                                      Knight-retained consultants re: assessment
                                                                                                                                                                                                                      and/or remediation of suspected fungal growth
                                                                                                                                                                                                                      (SFG), prepared in anticipation of litigation.



16   SPP-00058   Servpro            Billie Dempsey             Kevin Cutillo; Peter Littleton; Holly Costello     Naoufal Bouamar, Esq.; Shizar Horace; Mike         4/16/2019   4/16/2019   4/16/2019 Work Product   Confidential email correspondence discussing    Yes
                                                                                                                  Kelso; James Wall                                                                                   work product created by Holland & Knight and,
                                                                                                                                                                                                                      at direction of counsel, populated by Holland &
                                                                                                                                                                                                                      Knight-retained consultants re: assessment
                                                                                                                                                                                                                      and/or remediation of suspected fungal growth
                                                                                                                                                                                                                      (SFG), prepared in anticipation of litigation



17   BVP-00061   Black and Veatch   Gloria Perez               Vance E. Miller; Joel Windsor; John Shafer;         Naoufal Bouamar, Esq.                             7/10/2019   7/10/2019   7/10/2019 Work Product   Confidential email correspondence discussing     Yes
                                                               Michelle Griffith; Traci Price; Dustin Gray; Justin                                                                                                    work performed by consultant at the direction
                                                               G Messersmith; Bruce Richards; Glen                                                                                                                    of counsel re: assessment and/or remediation
                                                               Messersmith; K Messersmith; R Hayden; Kevin                                                                                                            of suspected fungal growth (SFG), prepared in
                                                               James; Darla Humbles; Jason Smith                                                                                                                      anticipation of litigation.




18   BVP-00125   Black and Veatch   Bille Dempsey              Joel Windsor; Naoufal Bouamar, Esq.                Vance E. Miller; Christie Taylor; Darla Humbles     5/8/2019    5/8/2019    5/8/2019 Work Product   Confidential email correspondence discussing     Yes
                                                                                                                                                                                                                      work performed by consultant at the direction
                                                                                                                                                                                                                      of counsel re: assessment and/or remediation
                                                                                                                                                                                                                      of suspected fungal growth (SFG), prepared in
                                                                                                                                                                                                                      anticipation of litigation.




19   BVP-00177   Black and Veatch   Michelle Griffith          Naoufal Bouamar, Esq.                              Shizar Horace; Elizabeth Farinholt; Billie         4/26/2019   4/26/2019   4/26/2019 Work Product   Confidential chain email correspondence with     Yes
                                                                                                                  Dempsey; Joel Windsor; Andrew Emerson, Esq.;                                                        counsel discussing work performed by
                                                                                                                  Vance E. Miller; Chris Rzepkowski; Nick Giambra                                                     consultant at the direction of counsel and
                                                                                                                                                                                                                      discussing spreadsheet created by Holland &
                                                                                                                                                                                                                      Knight and, at direction of counsel, populated
                                                                                                                                                                                                                      by Holland & Knight-retained consultants re:
                                                                                                                                                                                                                      assessment and/or remediation of suspected
                                                                                                                                                                                                                      fungal growth (SFG), prepared in anticipation of
                                                                                                                                                                                                                      liti ti




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20   TRCP-00022   TRC   Naoufal Boumar, Esq.                                             5/16/2019   Work Product   Confidential spreadsheet created by Holland & No
                                                                                                                    Knight and, at direction of counsel, populated
                                                                                                                    by Holland & Knight-retained consultants re:
                                                                                                                    assessment and/or remediation of suspected
                                                                                                                    fungal growth (SFG), prepared in anticipation of
                                                                                                                    litigation.




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                        EXHIBIT 1
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                         4425 F bes Eflvd
                         Suite B
                         Lanham, MD 20706

                         301,306.69K PHONE
                         :0306,6986 FAX

                          WWWArMititiOrtSX0M




March 2, 2019

Mr. Andrew Emerson
Holland & Knight LLP
800 17th Street N.W., Suite 1100
Washington, DC 20006

Re:       Summary of                                                                                    Inspection for
          Microbiological Contamination at the Military Rousing Complex
          Ft. Meade
          Columbia, Maryland

Dear Mr. Emerson:




                                         he key to success of this or any other project is assembling the correct team of
professionals. TRC has over 45 years of experience providing clients with value added services and has the resources of over
5,000 professionals including seasoned, senior professionals with proven experience and innovative ideas to address the
challenges posed by this project.
BACKGROUND
Based on our conversations with Holland & Knight, TRC understands that the Fort Meade housing complex consists of 2,627 single
family, duplex and townhome housing units. The units were constructed in the 1930s, 1960s, 1970s and after 2006.


                                                    The field investigation is intended to evaluate all 2,627 residential units for
evidence of water staining/damage and visible suspect microbial growth, and if present, provide location and quantity and a work
plan that will guide the remediation in the affected unit(s) in order to safeguard potentially susceptible residents. The project is
expected to be completed within sixty(60) calendar days, contingent upon site conditions, unit access and findings.

PROJECT APPROACH




                                                                                                                            DEF 00145708
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                                                                                                                Holland & Knight
                                                                                                                February 28, 2019
                                                                                                                           Page 2




Task 2

To facilitate the immediate need to identify the conditions of the military housing complex related to mold, TRC will perform an
initial visual assessment of existing conditions in all 2,627 homes (units). The initial site investigation team will include:

    •     Program Manager with expertise in coordinating projects of this magnitude;
    •     Certified Industrial Hygienists (CIHs) with expertise in mold assessment, remedial strategies and mechanical systems;
    •     Senior Industrial Hygiene Project Managers and Field Managers to manage the field teams, providing support and
          resources;
    •     Up to 12 Field Industrial Hygienists with mold investigation experience; and
    •     Project Engineer/Scientists to process data and update TRC Mobile Data Solutions platform with up to date information.

Each field industrial hygienist will have the following equipment when performing the assessment:

    •     FLIR One/FLIR Pro (or similar) thermal imaging device (non-intrusive inspection method);
    •     Moisture meter(non-intrusive); and
    •     Direct Reading Instrument - Relative Humidity and Temperature (non intrusive)

The initial assessment will include the following:

     1) Review available drawings of the different unit layouts within the complex. TRC will conduct an initial review of the
        existing drawings related to the unit layouts and review any previous sampling analysis and remedial recommendations
        and approaches. Client will provide TRC with the available drawings and information upon award;

    2) Perform a visual inspection of each unit documenting observations, thermal imaging and recording current temperature
       and relative humidity measurements. The moisture content of building materials showing signs of moisture will be
       measured with a moisture meter. This would include inspection of:

               a.   The kitchen, bathroom(s), bedroom(s), closet(s), dining room, living room, foyer, garage, and exterior;
               b.   The heating, ventilation and air conditioning(HVAC)system. The duct system inspection would be limited to
                    removal of the return air and supply air register and viewing into the duct(s), if feasible;
               c.   The crawl space (if present)from the point at the access door into the crawl space to determine if a vapor barrier
                    is present. The entire crawl space will not be inspected;
               d.   The attic space (if present) from the point at the access door into the attic to identify water intrusion. If the
                    HVAC system is located in the attic, the attic will be entered to view the HVAC system, if safe to do so. The
                    entire attic will not be inspected;
               e.   The home's exterior to identify areas of potential water intrusion.

     3) If the visual inspection identifies areas of microbial growth within the areas assessed, TRC will recommend the collection
        of bulk or surface (tape-lift) sample for suspect fungal growth for direct microscopic examination for each area observed.
        Surface sampling will be utilized as screening tool that will be used to confirm the presence of suspect mold on surfaces
        identified during the visual inspection. All mold or potential mold should be remediated regardless of the type or species
        identified, but surface sampling will be used to confirm that suspect molds are in fact mold. Follow-up site visit when
        required and sampling will be invoiced on a time & materials basis pursuant to our agreed tenns and conditions.

    4) Client will provide the list of current residences that had documented indoor air quality concerns and submitted the
       concern to the management company. The client and TRC will clarify prior to the start of this project unit/residents
       which had documented any indoor air quality concerns. Based on the information provided to TRC by the client and our
       visual inspection, TRC will conduct air sampling during a follow-up site visit. All laboratory costs and additional time




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          required over the initial site assessment shall be invoiced on a time 8z, materials basis pursuant to our agreed terms and
          conditions.

     5) TRC will prepare a report for each unit. If additional investigation or remediation is warranted, the report will recommend
        the need for additional investigation and the preparation of a work plan that will guide the additional investigation and/or
        remediation. The report will also outline any observed issues related to mold with documentation on location and
        quantities.

     6) It is currently anticipated that all of the five different unit types (1 Bedroom House, 2 Bedroom House, 3 Bedroom House,
        1 Bedroom Duplex and 2 Bedroom Duplex) within the complex will be evaluated.

     7) Concurrent with the finalization of the inspection report and following the receipt of any laboratory results, if performed,
        a Remedial Work Plan that defines the recommended scope of remediation work for each unit will be provided. The
        remedial work plan will define the scope of work, project specific requirements, site and work area engineering and
        administrative controls, clearance protocols, etc. to effectively implement the work.

In order tofacilitate the efficient implementation ofthis project. TRC will utilize our customizable Mobile Data Solution to collect,
analyze, manage and report data efficiently and effectively. This approach substantially increases project efficiencies and
significantly reduces potential for errors over traditional approaches. In addition to increasing the overall speed, efficiency,
accuracy, consistenc and suali          he in ormation rovided, this s 'stem rovides a much more e ective tool or mana in• each
project.




SCHEDULE AND FEE

TRC is prepared to begin work on this project within I week upon receipt of written authorization to proceed and agreement of the
terms and conditions. TRC anticipates that the initial visual inspection of each unit will take sixty (60) days. Initial visual
assessments will be captured within the TRC Mobile Data Solutions platform to provide instantaneous access to field assessment
data and site condition photographs.

A general Remedial Work Plan will be developed by TRC for the units where remediation is recommended and each assessment
report will detail the locations and quantities of materials that need to be remediated. However, additional investigation or
assessment may be required to fully characterize the remediation effort which would include additional IIVAC inspection, sampling
for asbestos and lead, etc. These specific unit report will be final once the full scope of work is known, if additional inspection and
sampling is required.


TRC proposes to perform the above defined work based on the costs listed below:


    •     Task 2- $998/unit




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REQUIREMENTS AND ASSUMPTIONS

The following assumptions provide the basis upon which TRC's proposed costs were developed for the project:

     •   In order to coordinate this effort, TRC requests one to two weeks to plan, notify and assemble staff, obtain any equipment,
         obtain sample media, etc. prior to the 60 day schedule initiating.
     •   TRC will complete the initial assessments within 60 days of the project start date. Reports will follow with mutually
         agreed upon schedule for delivery with the Client.
     •    The Client will provide a floor plan depicting each unit type that will be assessed for the project.
     •    The Client will provide an excel spreadsheet or csv tile that lists each unit to be assessed and the details for each unit
         (unit address, size of the unit in square feet, number of bedrooms, number of bathrooms, and other rooms, and the floor
          plan type). This spreadsheet of addresses will be provided to TRC upon authorization to proceed and one week prior to
          mobilization.
     •    No delays beyond TRC's control are encountered in performing the scope of work and all areas ofthe unit(s) are available
         for access during the scheduled site visit.
     •   TRC will have timely, complete and unobstructed access to each unit, as applicable to perform the requested scope of
          work. Timely access to each residential unit will be critical to completing the assessments within 60 days. TRC will
          provide the Client with a master schedule that the Client will use to notify each tenant of the planned date for the initial
          unit assessment. In addition, the Client will provide a property maintenance person to provide access to each unit.
     •    Units will be scheduled by street and in sequential order by address number. All resident communication in relation to
          scheduling of the project will be conducted by the Client.
     •    Inspection of the HVAC system in each unit will not involve disassembly of the unit. If the initial assessment indicates
         a potential issue related to mold growth within the HVAC system, TRC will make recommendations in the report to have
          a follow-up inspection be performed by a licensed mechanical contractor.
     •    The fee does not include the collection or analysis of any wipe, tape or air sample for mold as part of the visual inspection.
     •    The fee does not include any asbestos and lead bulk sampling, sample analysis or survey work. Note that if remediation
          is recommended, asbestos and lead surveys may be required prior to disturbing these materials.
     •    Although attempts will be made to keep the damage minimal, minor damages to building materials and finishes will
          likely occur. TRC will not accept responsibility for damages, whether in the present or that which may occur later,
          stemming from our work proposed herein.
     •    Hidden and/or inaccessible areas may not be identified or inspected due to constraints created from construction.
          Destructive access or demolition of certain components of buildings may be required in order to inspect such areas. TRC
         assumes Client does not desire such destructive investigation and therefore excludes such methods from our proposed
          scope of work identified above.
     •    Clients' maintenance personnel will provide access to areas within each housing unit to be inspected (i.e. crawlspaces,
         attics, etc.). TRC's proposal is limited to elevations accessible using a standard six foot ladder.
     •    Below Grade Exclusions: TRC's assessment methods do not include an evaluation of concealed crawlspaces,
          underground water or sewage piping, underground steam lines, or subsurface foundation damp-proofing that may be
          present at the unit(s) unless Client provides specific access to the areas.
     •    Field inspections assume 4 units per person per day will be completed, approximately two hours per unit inspection.
     •    Any activities beyond those specified in the scope of work will be considered supplemental services and will be invoiced
         on a time-and-materials basis or covered under a separate, written proposal. However, no such services will be
          undertaken without Client's authorization.

CLOSING

If this proposal is acceptable to you, please sign this proposal in the authorization blocks below and at the end of the attached
"General Terms and Conditions" which are a part of this proposal. The receipt of the signed documents by TRC will serve as our
authorization to proceed with the scope of work described in this proposal.

Thank you for allowing TRC the opportunity to serve Holland & Knight. If you have any questions regarding this proposal, please
feel free to contact me directly at 617-838-7823.




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                                                                                                          Holland & Knight
                                                                                                          February 28, 2019
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Sincerely,

TRC ENVIRONMENTAL CORPORATION


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Paul J. Manna                                                                David Tiernan
Building Science, Practice Leader                                            Senior Vice President

Cc:         Andre Steuer
            Heath Howard
            Fritz Leonard

Attachments:

TRC Rate Schedule
TRC Terms and Conditions
TRC Resumes

Holland & Knight hereby authorizes TRC to proceed with the above scope of services as set forth in this proposal in accordance
with the attached schedule of rates and terms and conditions.
                  /
         ,,
                                                                            3/2/19
Signature                                                                   Date

             Partner
Title

Meade Communities, LLC hereby authorizes TRC to proceed with the above scope of services as set forth in this proposal
in accordance with the attached schedule of rates and terms and conditions.


William E. Culton,Jr.                                                        Date
General Counsel, Corvias Group, LI_C
Its: Authorized Representative




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                     4425 Forbes Blvd
                     Suite B
                     Lanham, MD 20706

                     301306.6981 PHM:
                     301,306,6986 FM
                     WWW:tMS0:100M,COM


March 7, 2019

Mr, Andrew Emerson
Holland & Knight LEP
800 17th Street N.W.,Suite
Washington, DC 20006

Re:     Change Order-
                  Bionerosol Sampling & L4ho i1ory Analysis of 100% of the properties and pos
        remediation inspection and sampling at the Military Housing complex,Ft. Meade
        Columbia, Maryland

Dear Mr. Emerson

TRC Environmental Corporation 'RC) is pleased to provide Holland & Knight (the Firm)
additional prqlect approach, scope of work and cost for bloacrosol sampling for microbial spoi
2,627 units and a post remediation inspection and sampling, as required, for the military housing inph..-x
located at It Meade in Columbia, Maryland, We are prepared to add these services to the ongomg
inspectional services outlined in this proposal.

BACKGROUND




scope
To facilitate he immediate need to cofleci bioaerosol samples at this military housing complex, TRC will
make every attempt to conduct this air sampling while conducting our initial assessment of existing
conditions in all 2,627 homes (units). We anticipate that providing this additional work during our site
inves-tigation will reduce the amount of properties our inspectors can survey in one day and cause
need to extend our original estimated deadline of60 days to 120 days.

         initial assessntent will include the collection of bioaerosol samples fhr total mold spot
       indoor locations, including a sample from each floor or in different sections of th larger capc
   style houses, 'For comparison purpose*, three (3) outdoor samples will he collected each day by each
   team. FOf quality control purposes, a field blank will be prepared per box as ell




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                                                                                            Holland & Knight
                                                                                               March, 7, 2019
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 Onee the laboratory results are received TRC will incotpurate these results into our Mobile De„ito
 Solutions pial m which        he used JOT the efficient ceillection, management and rcpftrting prqfect
 W Ormation   TRC proposes  to  utilize our IRC MObile Data ,Colunans platform to efficiently capture
 prqlect rp an iii remedial/on, and SChedub.? data in real-rink            mobile devices in the.field



 KIERLILE,MILLE.
  RC is prepared to begin work on this project immediately upon receipt of written authorization to
 proceed with this change order. TRC will add the scope included in this proposal, to the inspectional
 KR ices beiug conducted at this time by Tge and we anticipate that the MM al unit assessment, and
 bioa yowl sampling as deserined above, will be completed in ap roxtmatclv one hundred and twenty
(120) days.

                   Once the laboratory results are received a final report will be generated within 2 weeks.

 The additional cost to provide the background bloaerosol sampling services described in this scope will
 be $503/unit which will increase our initial unit cost to a total cost of $1.50

 The $1,501/unit covers the visual inspection and one biouvrosol sampling event, even if not conducted
 during the initial inspection. If aerosol sampling is not conducted during the nitial inspection, the unit
 price wiH be $998.

TRC will also provide trained personnel to conduct a visual inspection and clearance bioaerosol sampling
following remediation at eaa property required. The cost tor this visual inspection will be $685(unit.
This unit price is‘Tor a single invicelian and does riot cover the cost (.0' fidlow up inspection ifrequired,
which will be an additional S6N5.

The same requirements and assumptions from our initial proposal apply to this change order,

CLOSING.

 if this change order is acceptable to you, please sign this proposal in the authorization block below. The
 previously 4.12.-,reed upon General Terms and Conditions from our original proposal apply to this proposal
'Hie receipt: of the signed documents by TRC will serve as our ttuthorization to proceed with the scope of
 work described in this proposal.

Thank you for allowing TRC the opportunity to serve Holland & Knight. If you have any questions
regarding this proposal, please kel free to contact me directly at 617-838-7823.

Sincerely,
TRC ENVIRONMENTAL CORPORATION

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                                                                                   Holland & Knight
                                                                                      March, 7,2019
                                                                                              Page 3

Paul J. Manna                                                       David Tiernan
Building Science, Practice Leader                                   Senior Vice President




Holland & Knight hereby authorizes TRC to proceed with the above scope of services as set
forth in this proposal in accordance with the attached schedule of rates and terms and conditions.

                                                     March 12, 2019
Signature                                           Date


Title



Meade Communities, LLC
By: Meade-Pieerne Partners,I,IC
Its: Managing Member
By: Corvias Military Living, LLC
its: Member



                                                    Date
William E. Culton, Jr.
General Counsel, Corvias Group, LLC
Authorized Representative




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                              TRC SOLUTIONS,INC.
                       AGREEMENT FOR CONSULTING SERVICES


 This Service Agreement is made this 2nd day of March, 2019 by and between Holland & Knight
 LLP on behalf of Corvias Military Living, LLC for Meade Communities, LLC, a Delaware
 Limited Liability Company ("Client"), and TRC Environmental, Inc., a Connecticut corporation
("Consultant"). Client and Consultant are hereinafter referred to individually as "Party" and
 collectively as "Parties."

 In consideration of the faithful performance of the Terms and Conditions set forth in this Service
 Agreement, Client and Consultant agree as follows:

 1.     SCOPE OF WORK AND CONSULTANT FEES

 The Consultant's Fees (Unit costs, labor and personnel rates, equipment travel expenses and
 material costs, etc.) for services to be performed under this Service Agreement and scope of work
("Work")are provided in the executed Proposal(the "Proposal") attached as Exhibit A. The Work
 includes
 performing an initial visual assessment of existing conditions in 2,627 homes, particularly for the
 presence of mold at the Fort Meade military housing facility in MD ("Site"), and



2.      TERM

 This Service Agreement shall become effective as of the above date and shall remain valid until
 December 31, 2019, unless terminated earlier under Section 22, Termination.

3.      TERMS AND CONDITIONS

 Consultant acknowledges and agrees to abide by and comply with the Terms and Conditions,
 including all Exhibits, which include the Proposal and Invoicing Procedures, and are incorporated
 herein.

4.      GOVERNING LAW

 This Service Agreement shall be interpreted and enforced in accordance with the laws ofthe State
 of Connecticut.

5.      INDEPENDENT CONTRACTOR

 Consultant and consultant's employees and subcontractors shall be an independent contractor of
 Client in all its operations and activities hereunder. All employees or subcontractors furnished by
 Consultant to perform the Work shall be deemed to be Consultant's employees exclusively, and




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shall be paid by Consultant for all services in this connection. This Service Agreement does not
constitute, nor will it be construed as constituting or creating an employment relationship between
Consultant and Client for any purpose whatsoever. Consultant is not authorized to represent Client
or otherwise bind Client in any dealings between Consultant and any third parties.

6.     COMPENSATION AND PAYMENT CONDITIONS

A.     Client shall compensate the Consultant for the Work in accordance with the Consultant
       Fees set forth in Exhibit A of this Service Agreement.

B.     The labor rates are all inclusive and shall include, but are not limited to the following:
       wages, taxes, insurance, fringe benefits, compliance with drug and alcohol testing
       requirements, cost of equipment (hard hats, safety glasses, etc.) needed to comply with
       safety requirements of field work and all cost associated with complying with all local,
       state, and federal regulations, overhead and profit.

C.     Payment shall in no way relieve the Consultant of liability for its obligations or for faulty
       or defective work discovered after final payment or Final Acceptance.

D.     Client shall pay Consultant within thirty(30) days after Client's receipt of an invoice from
       Consultant for the Work. If an invoice is incomplete, Client may return the invoice wholly
       or partially unpaid.

E.     Client will notify Consultant within twenty-one days ofthe receipt of an invoice if it has a
       dispute with an invoice through a written objection delivered electronically. In the event
       that there is a dispute over an invoice, Client agrees to pay any undisputed portion of the
       invoice. The Parties will attempt to resolve any disputes concerning invoices as quickly as
       possible.

F.     For a period of at least three (3) years from the date of issuance Consultant shall keep on
       file and make available as may be requested by Client, a copy of all records and
       documentation, including individual time sheets, for each final invoice sent to Client for
       payment. Client may, at its sole discretion, audit these documents.

7.     MODIFICATION TO WORK

A.     Client may at any time, by written order to Consultant, make changes (hereinafter
       "Modifications") in the Work, including but not limited to, increasing or decreasing the
       Work, changing specifications, or directing acceleration in the performance of Work. If a
       Modification causes any increase or decrease in the cost of the Work, an equitable
       adjustment shall be made through a subsequent written proposal to be executed by the
       Parties, and which will constitute an Amendment to this Service Agreement.

B.     No Modification shall be binding on either Client or Consultant unless issued in writing
       and signed by Client and Consultant.

8.      ASSIGNMENT AND SUBCONTRACTING



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      The Consultant shall not assign this Service Agreement or subcontract or the whole or any
      part of the Work to be perfonned by Consultant without Client's prior written consent
      which may be withheld in Client's sole and absolute discretion. Client's consent to any
      such assignment or subcontract shall not relieve Consultant of any liability for the full and
      faithful performance of this Service Agreement according to its terms and conditions.
      Client may assign all or any portion of its rights and title to all goods and services provided
      under this Service Agreement to the Client or any subsidiary of Client.

9.    ACCOUNTING AND AUDITS

      Consultant shall maintain full and detailed accounting records in accordance with generally
      accepted accounting principles and practices consistently applied to substantiate all
      invoiced amounts. Upon reasonable notice, Client, or its respective representatives, shall
      be allowed to audit or inspect Consultant's records, books, correspondence, instructions,
      drawings, receipts, vouchers, and other data relating to the Work and services. Consultant
      shall preserve such records and offer access to Client for a period of four (4) years after
      final payment. Client and its respective representatives shall have the right to reproduce
      any of the information referred to above.

10.   INSURANCE

      Consultant from the inception of the Work until Final Acceptance of the Work shall
      provide at its own cost and expense, including the payment of any deductibles, and
      maintain in effect the following types and amounts of insurance with terms and with
      insurance companies satisfactory to Client:

A.    Workers' Compensation Insurance including Occupational Disease coverage in
      accordance with the laws in the jurisdiction of the Work area and Employer's Liability
      Insurance with a limit of not less than $1,000,000 per person per accident.

B.    Commercial General Liability Insurance, including Contractual Liability and Products
      Completed Operations coverage with available limits of not less than $1,000,000 per
      occurrence and $2,000,000 general aggregate and containing no XCU exclusions.

C.    Automobile Liability Insurance covering owned, non-owned and hired vehicles used by
      Consultant with limits of not less than $1,000,000 combined single limit.

D.    If Consultant's Commercial General Liability Insurance and Automobile Liability
      Insurance are combined forming one policy and one limit of liability, the limits shall be
      not less than $2,000,000 combined single limit.

E.    Client's Pollution Liability Insurance where applicable with limits of not less than
      $2,000,000 per claim and annual aggregate.

F.    Excess Liability/Umbrella Liability Insurance of $2,000,000 per occurrence and annual
      aggregate.




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G.    Professional Liability Insurance (errors & omissions) where applicable with limits of not
      less than $2,000,000 per claim and in the aggregate covering Consultant against all sums
      which Consultant may become obligated to pay on account of any professional liability
      arising out of its performance under this Agreement.

H.    Other Requirements

     (1) Additional Insured: As to insurance set out in above sub-paragraphs B, C, D (if
         applicable), E, and F, Client shall be added as an additional insured without any
         disclaimers.

     (2) Waiver of Subrogation: All policies shall be endorsed to provide that underwriters
         and insurance companies of Consultant shall not have any right ofsubrogation against
         Client, or any of its respective parents, affiliates, or subsidiaries and each of their
         respective officers, directors, shareholders, members, partners, employees, agents,
         invitees, servants, Consultants (other than the Consultant), insurers, undenvriters and
         such other parties as they may designate.

     (3) Primary Insurance: To the extent permitted by such insurance policies, each policy
         shall be endorsed to provide that, with respect to the Work, Consultant's insurance
         shall always be primary coverage and non-contributory with respect to any insurance
         that may be maintained by Client.

     (4) Notice of Cancellation: All policies shall be endorsed to provide that thirty (30) days
         prior written notice shall be given to Client in the event ofcancellation or non-renewal
         of the policies.

     (5) Certificates: Consultant shall furnish Client with an acceptable Certificate of
         Insurance evidencing the insurance and other requirements required hereunder before
         the start of any Work or services and as a condition to payment. Certificates of
         Insurance shall include the TRC Project number. Consultant shall send Certificates
         ofInsurance to Client as follows: To Client's Manager of Property and Development,
         to the addresses indicated in Section 30 hereof. Consultant shall maintain, update,
         and renew the Certificate for the duration of this Agreement. In the event an
         acceptable Certificate of Insurance becomes outdated, Client may withhold payment
         of invoices, suspend Work or services or take other appropriate action until an
         acceptable and properly dated Certificate is received by Client.




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11.   COMPLIANCE WITH LAWS AND REGULATIONS

A.    Consultant, its employees, and representatives, shall at all times comply with any and all
      applicable laws.

B.    Consultant shall comply with all Applicable Laws, concerning nondiscrimination in
      employment (including the Equal Opportunity clause of Section 202, Executive Order
      1 1246, dated September 24, 1965) 38 U.S.C. 2012, as amended by Section 402 of the
      Vietnam Veterans Readjustment Assistance Act of 1974 and Section 503 of the
      Rehabilitation Act of 1973, which are hereby incorporated herein by reference.

12.    HEALTH AND SAFETY

      Consultant shall place the highest priority on employee and worker health and safety, and
      shall maintain a safe working environment during performance of the Work. In addition
      to, and without by way of limitation, Consultant shall comply, and shall secure compliance
      by its employees, agents, and Consultants, with all applicable health, safety, and security
      laws and regulations including, without limitation, federal, state and local laws and
      regulations. Compliance with such requirements shall represent the minimum standard
      required of Consultant.

13.   CONSULTANT RESPONSIBILITIES

A.    Professional Quality

      The standard of care for Work performed by Consultant shall be the care and skill
      ordinarily exercised by members of Consultant's profession practicing under the same or
      similar conditions at the same time and in the same locality. The Work rendered hereunder
      shall be rendered competently and by qualified personnel and in accordance with standard
      industry practice. This warranty is in lieu of all other warranties, either express or implied.
      Consultant shall be responsible for the professional quality of the Work, and Consultant
      warrants that:

      (1) The Consultant will use reasonable care to perform the Work in accordance with
          prevailing professional standards and ethics, and that the Work shall be of high
          quality;

      (2) The Consultant now possesses and shall maintain at all times for the duration of this
          Service Agreement, all licenses and certifications required for the Work. Consultant
          shall present evidence thereof, upon request by Client, and shall notify Client
          immediately after any decertification or revocation of any license or certification.

B.     Communication

      Consultant shall not communicate with Site Owner/Operator without prior written
      authorization from Client. Consultant is not responsible for any project delays while
      waiting authorization.



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C.     Supervision and Work Force

      Consultant shall employ only competent and skilled personnel to perform the Work.

14.    TIME OF PERFORMANCE/FORCE MAJEURE

A.    Time is of the essence in the performance of Consultant's obligations under this Service
      Agreement. The time schedule for the implementation and completion of the Work shall
      be mutually agreed upon between Client and Consultant prior to the start of the Work.
      Client and Consultant may mutually agree to update or revise the time schedule if necessary
      as the Work progresses in accordance with Section 7, Modifications to Work.

B.    Any delay or failure of performance by either Party pursuant to this Service Agreement
      shall be excused only if, and only to the extent that the delay or failure was caused by
      occurrences beyond the control of the Party affected, including acts of God, extreme and
      unusual weather conditions, floods, fires and explosions, riots, war, rebellion, and sabotage
      and not due to the affected Party's fault or negligence, provided:

      (1) That the foregoing shall not be considered a waiver ofeither Party's obligations under
          this Service Agreement;

      (2) That the Party seeking relief shall promptly notify the other in writing ofthe time and
          starting and ending of any such occurrence, and describe the nature of the occurrence
          and its anticipated effect on the performance of this Service Agreement.

15.    REPRESENTATIONS AND WARRANTIES

A.    Consultant represents and warrants that all work shall (i) strictly comply with the
      provisions of this Service Agreement and all specifications referred to in this Service
      Agreement or thereafter furnished by Client. Consultant further represents and warrants
      that all materials, equipment and supplies furnished by Consultant for the Work shall be of
      the most suitable grade in accordance with all specifications and fit for the purposes
      contemplated by this Service Agreement.

B.    Without limitation of any other rights or remedies of Client, if there is any defect in the
      Work, Consultant shall upon receipt of written notice of such defect within one (1) year
      after completion of its services, promptly furnish, at no cost to Client, all labor, equipment
      and materials at the Site necessary to correct such defects and cause the Work to comply
      fully with the foregoing warranties.

16.    LIENS,ENCUMBRANCES,AND CLAIMS

A.     With respect to all Work provided by Consultant pursuant to this Service Agreement:(1)
       no liens or other encumbrances shall be filed by Consultant; and (2) Consultant expressly
       waives and relinquishes any and all rights to such liens or encumbrances.

B.     Consultant shall promptly pay, when due, all wages oflaborers and employees, all bills for
       materials used in the Work, all claims of any lower-tier Consultants, and all statutory


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       withholdings. Provided that Client has made payments due hereunder, Consultant agrees
       to indemnify and defend Client and hold it, the Site, and the Work harmless from and
       against any and all liens, claims for labor, services, and materials and agrees to forthwith
       discharge and pay any and all liens and claims in any way resulting from Consultant's
       performance of the Work. If such a lien is filed, Consultant shall, within five (5) working
       days after notification by Client,(i) pay such lien and obtain a Release of Lien, or (ii) post
       a Release bond to lift the lien, and (iii) shall duly record such Release of Lien or Release
       Bond in the appropriate county real estate records and provide Client with a copy of the
       recorded Release of Lien or Release Bond. Failure to do so shall be deemed to be a material
       breach of this Service Agreement. Client at its discretion may withhold any monies due
       Consultant and use said money to satisfy any liens or past due amount.

C.     Client may, as a condition precedent to any payment, require Consultant to furnish
       complete waivers or releases of any and all such liens, charges, encumbrances and claims.
       Waivers or releases must be furnished by Consultant covering all liens, charges,
       encumbrances and claims as a condition to final payment.

17.    CONSULTANT'S INDEMNIFICATION OF CLIENT

       To the fullest extent permitted by law, Consultant shall defend, indemnify and hold
       harmless Client, its employees, subsidiaries, successors and assigns, from and against any
       and all liabilities, claims, demands,judgments, loss, damages, or costs, including, without
       limitation, settlement sums, reasonable attorney fees, consultant and expert fees
      (liabilities), to the extent caused by Consultant's negligent acts, omissions or willful
       misconduct in the performance of its services for (1) personal injury, disease or death to
       any person and/or damage to property (public or private), or contamination of or adverse
       effects on the environment,(2) workers' compensation assessments or claims involving
       employees of Consultant and/or its subcontractors,(3) violations of Environmental Laws
       and/or Natural Resource Damages,(4) violation by Consultant of any Applicable Laws.
       Under no circumstances shall Consultant be liable for special, indirect, consequential,
       punitive or exemplary damages or for damages caused by Client's failure to perform its
       obligations. The total liability in the aggregate of Consultant to Client or anyone claiming
       by, through or under Client on all claims of any kind (excluding claims of death or bodily
       injury, gross negligence or third party claims for which Consultant has indemnification
       responsibilities hereunder) shall not exceed the total compensation received by Consultant
       under this Agreement or $50,000 whichever is higher.

18.    CONFIDENTIALITY

       Consultant shall treat the details of this Service Agreement and any information or data
       about the Work and Project as private and confidential, and shall not publish, release or
       disclose information regarding this Service Agreement, the Work, and Project to any
       person or party other than Client, Client's authorized representatives, and persons
       designated by Client. This provision shall not apply to information and data, which are in
       the public domain, or were previously known to Consultant or which were acquired by
       Consultant independently from third parties not under any obligation to Client to keep said
       information and data confidential. Nor shall it be interpreted to in any way restrict
       Consultant from complying with an order to provide information or data when such order


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      is issued by a court, administrative agency or other legitimate authority with proper
      jurisdiction; but if such request is made, Consultant will, when legally permissible, give
      Client notice of said request prior to disclosure. Consultant shall not make any public
      announcement or publicity releases without Client's prior written authorization. Consultant
      agrees that all communications with the press or other media regarding the Project shall be
       by Client, unless otherwise instructed by Client.

      Without limiting the generality of the foregoing, Consultant shall not use, disclose, or
      transfer across borders any information that is processed for Client or Client that may
      identify an individual(Personal Data), except to the extent necessary to perform under this
      Service Agreement; and Consultant shall comply with all applicable data privacy laws and
      regulations, implement and maintain appropriate technical and other protections for the
      Personal Data, report any breaches of protection ofPersonal Data, and cooperate fully with
      Client's requests for access to, correction of, and destruction of personal data in
      Consultant's possession.

      Consultant shall also require all of its employees and sub-contractors to comply with this
      Section.

19.    OWNERSHIP OF DOCUMENTS

       All deliverables and documents including, without limitation, data, reports, notes,
       specifications, drawings, plans, tracings, materials, and files produced, prepared, or
       collected by Consultant, whether completed or in progress, under this Service Agreement
      ("Deliverables") shall become and be the property of Client upon payment therefor.
       Consultant agrees to and shall deliver to Client any Deliverable upon request. Consultant
       grants Client a fully paid-up, perpetual, non-exclusive, royalty free license to use any
       Consultant preexisting information as contained in any Deliverable for the purposes
       contemplated under this Service Agreement.

20.   PATENTS

      Consultant shall defend all suits and claims against Client and shall hold Client free and
      harmless, and hereby indemnifies, defends and holds harmless Client from all liability,
      damages, costs and royalties, including without limitation reasonable attorney fees, from
      any infringement or alleged infringement of any patent, copyright, or other intellectual
      property right, or for the misuse of any of the foregoing, by Consultant and its employees
      or sub-contractors in the performance of the Work.

21.   SUSPENSION OF WORK

A.    Client may, at any time, suspend performance of all or any part of the Work by giving not
      less than twelve (12) hours' notice (by phone or via email) to Consultant.

B.    Client shall not be liable for damages of any kind including, but not limited to, direct or
      consequential damages, anticipated profits, or costs incurred with respect to suspended
      Work during any period of suspension, except for the out of pocket cost that are incurred
      for the purpose of safeguarding the work materials and equipment in transit or at the Site.


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22.    TERMINATION

A.     Default: Client may terminate this Service Agreement by written notice to Consultant for
       any of the following events:

      (1) Consultant fails to commence its Work or services hereunder, or any portion thereof,
          within the specified time, or fails to complete its services within the specified time,
          or otherwise fails to comply with any term of this Service Agreement, provided that
          Client has given Consultant written notice of such failure and the Consultant fails to
          remedy such failure within three (3) working days, or present to Client a mutually
          acceptable plan to implement such remedy. Client may also terminate Consultant's
          right to proceed with the Work or such part ofthe Work where defaults have occurred;

      (2) Consultant becomes insolvent, petitions for any bankruptcy court proceeding, or has
          an involuntary bankruptcy proceeding for it filed by any creditor or group ofcreditors;

      (3) Consultant fails to make prompt payment to its Consultants or suppliers; or

      (4) Consultant fails to maintain proper quality control, Health & Safety procedures and
          required licenses and certifications.

B.    Convenience: Client may terminate this Service Agreement by three (3) days prior written
      notice to Consultant. Such termination shall be effective in the manner specified in the
      notice and shall be without prejudice to any claims that Client or Client may have against
      Consultant.

C.    After receipt of a termination notice pursuant to the sub-paragraphs above, Consultant
      shall, unless the notice directs otherwise, immediately discontinue the Work.

D.    In the event of a termination for default, Consultant shall not be entitled to receive any
      further payment, if any may then be due, until all ofthe Work is completed by or on behalf
      of Client.

E.    In the event this Service Agreement is terminated for convenience, the obligations of this
      Service Agreement shall continue as to approved work already performed. Consultant shall
      be entitled to relative proportions ofthe agreed Contract Price for the portions ofthe Work
      done before the effective date oftermination. Consultant shall not be entitled to any profit,
      fee or overhead on unperformed Work.



23.    NOTICE OF THIRD PARTY CLAIMS AGAINST THE CONSULTANT

      Consultant shall give Client immediate notice of any suit or action filed, or any actual or
      threatened claims made, against Consultant arising out of, or in any way related to, the
      performance of this Service Agreement or any lower-tier subcontracts (if any). Consultant


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      shall furnish immediately to Client copies of all documents received by Consultant
      pertinent to such actions, suits or claims.

24.   DISPUTES

      For all claims or disputes between the Parties under this Service Agreement, the Parties
      shall endeavor to settle disputes as a condition precedent to litigation. The Parties will
      follow the following dispute procedures:

      A.     In no event shall a dispute be raised after the date when such claim, dispute or other
      matters in question would be barred by the applicable statute of limitations.

      B.     The Parties agree to make a good faith effort to mutually resolve any dispute as
      quickly as practicable.

      C.     If, however,the Parties have not so resolved the dispute, the Parties' representatives
      shall submit the dispute to one of their senior-level executives for review and
      simultaneously notify the other Party in writing thereof A meeting shall be held within
      five (5) business days after such notice of submission attended by such senior-level
      executives of the Parties and any necessary representatives to attempt in good faith to
      negotiate a resolution of the dispute.

      D.     If, within five(5)business days after such meeting, the Parties have not succeeded
      in negotiating a resolution of the dispute, either Party may institute suit in the superior
      Court of the State of California.

      E.      The Parties consent to personal jurisdiction and venue in the courts referenced
      above. The Parties specifically waive their right to a jury trial to resolve any and all claims,
      including but not limited to those sounding in contract, tort or statute, against the other
      arising out of or connected in any way to the project or this Agreement. Any and all claims
      and/or causes of action between the Parties arising out of this Agreement shall be brought
      by either Party within three (3) years of substantial completion of the services rendered
      pursuant to this Agreement or termination of this Agreement whichever is sooner.

      F.     During the pendency and conduct of any dispute or litigation, Consultant shall
      continue to perform the Work.

      G.     The rights and obligations of the Parties under this provision shall survive
      completion or termination of this Service Agreement.



25.   RIGHTS,REMEDIES AND WAIVER

      The rights and remedies provided in this Service Agreement to Client shall be cumulative
      with and in addition to the rights and remedies otherwise available at law or elsewhere
      provided for herein. No waiver of any provision of this Service Agreement shall be
      effective unless such waiver is in writing and signed by the Client and this provision cannot


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      be orally waived. Failure to enforce any provision of this Service Agreement or to require
      at any time performance of any provision hereof shall not be construed to be a waiver of
      such provision, or to affect the validity of this Service Agreement or the right of Client to
      enforce each and every provision in accordance with the terms hereof. No waiver of any
      provision of this Service Agreement shall affect the right of Client or Client thereafter to
      enforce such provision or to exercise any right or remedy available to it in the event of any
      other default involving such provision or any other provision. Making payment or
      performing pursuant to this Service Agreement during the existence of a dispute shall not
      be deemed to be and shall not constitute a waiver of any claims or defenses of the Client.

26.   NON-SOLICITATION

      Each Party agrees that during the term ofthis Service Agreement, it shall not directly solicit
      or recruit or hire any employee of the other Party. Nothing herein shall be deemed to
      prohibit either Party from conducting generalized solicitations or generalized
      advertisements for employment or hiring any employee of the other Party who has
      responded to a generalized solicitation or generalized advertisement for employment.

27.   SEVERABILITY

      If any provision in this Service Agreement is determined to be void or unenforceable, such
      determination shall not affect the validity of any other provision.

28.   ENTIRE AGREEMENT

      This Service Agreement, together with all exhibits, documents, specifications, and
      drawings incorporated herein by reference, constitutes the entire agreement between Client
      and Consultant, and there are no terms, conditions, or provisions, either oral or written,
      between the Parties other than those herein contained, and this Service Agreement
      supersedes any and all oral or written representations, inducements, or understanding of
      any kind or nature between the Parties relating to the Work.

29.   HEADINGS

      The Headings in this Service Agreement are for convenience only and are not intended to
      be used in interpreting or construing the terms, covenants, and conditions herein.



30.   NOTICES




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         Notices required hereunder shall be in writing and deemed given if sent by certified mail
         return receipt requested or recognized overnight courier to the following duly authorized
         representatives:
            Client                                           Consultant

            Bonni F. Kaufman, Esq.                           Mark A. Robbins
            Holland & Knight LLP                             President
            800 17th Street N.W., Suite 1000                 Environmental Sector
            Washington, DC 20006                             TRC Solutions, Inc.
            Tel.:(202)419-2549                               505 E. Huntland Drive, suite 250
            Fax:(202)955-5564                                Austin, TX 78752
            bonni.kaufman@hklaw.com                          Tel.:(512)684-3107
                                                             mrobbins@trcsolutions.com

The Parties may change their duly authorized
representatives at any time by providing written notice to the other Party.

AGREED AND ACCEPTED TO BY:

            & Knight LLP                             TRC SOLUTIONS,INC                 signed by Mark A. Robbins,
                                                 Mark A. Robbins1             President
                                                                              DN• cn=Mark A. Robbins, President, o=TRC,
         i‘a                                                                  ou=Ey Sector,

Sig ature
                                                 Pr   llig)19pt
                                                                              email=
                                                                              Date: 2019.03.02 13:57.06 -0600'



                      v      r)                        Mark A. Robbins
Name                                                 Name

/1
 7 m-heir                                             President, EV Sector
Title                                                Title

        (5- I  7                                     March 2, 2019
                                                     Date




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                          EXHIBIT A

                    EXECUTED PROPOSAL




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                                          EXHIBIT B

                                INVOICING PROCEDURES


The Consultant shall use the methods described below for preparing and sending invoices for the
Work performed under the Agreement. The Client may, at any time, require additional or different
methods for invoicing.

A.     Send one original invoice to the Client.
B.     Send the invoice via e-mail to: Bill.Culton(ctsorvias.com with copy to
bonni.kaufman(a),hklaw.com and andrew.emerson@hklaw.com.
C.     The invoice must include an invoice date on or after the date when the work was
       performed by Consultant.
D.     The invoice must include a unique invoice number.
E.     The invoice must include the time period during which the work was performed.
F.     The invoice must contain the correct remittance address.
G.     The invoice must include Consultant's complete name as it should appear on Client's
       remittance.
H.     The invoice must include Consultant's telephone number.
1.     The invoice must include the Client's contact names.
J.     The invoice must include any account coding provided by Client.
K.     The invoice must show the units expended, or Time & Material, if that applies.
L.     Any specific Material and Equipment charges must be identified.
M.     The invoice must show any other specific information required by the Work.
N.     Labor categories and rates on the invoice must correspond to those included in the
       Proposal.
O.     Reference TRC Project #330483.0000 .

    Invoices received without MC's Project Number will be returnedfor proper processing.




                                            #6567672v 1




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                          TRC Environmental 2019 Rate Schad         e

                                                                           OLIRLYLABOR RA 6.
        Project Support/clerical
 01     Levell                                                                           $58
 62     Level II                                                                          69
 63     Level 111                                                                         95
        Level IV                                                                         110


        Level II
                                                                           ME$69          81
        Level III                                                                         05
  4     Level IV                                                                         122
        Designer/Technician/inspectors
                                                                                         $46

                                                                                          91
  4                                                                                      105

                                                                                         $80
 D2




        Level I
        Level
        Level Ill
        Level IV
        Project Manager
        Level I
         evelll
        Level III
        Level IV
        Principal/Principal Scientist/Principal Engineer
 Al     Level
 A2     Level II
 A3     Level III
 A4     Level IV
        - MICROBIAL

        Air Samples-Total Fungal Spores (72Hours)                                    $45.00
          Next-Day Rush Analysis                                                     $65 00
          Same-Day Rush Analysis                                                     $75.00

        Tape and Bulk Samples-Direo        -copic Examination (72 Hours)             $45,00
          Next-Day Rush Anal sis                                                     $65,00
          Same-Day Rush Analysis                                                     $75.00

 *Litigation and expert witness time will be billed at 1.5 times the
 standard.




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                     CERTIFICATE OF SERVICE

         I hereby certify that on September 10, 2021, I caused a copy of the foregoing

          Letter to be served on all counsel of record via the Court’s CM/ECF system.


                                      /s/ Kevin B. Collins
                                      Kevin B. Collins (D. Md. No. 13131)

                                      Counsel for Plaintiffs
